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                                                    UNITED STATES BANKRUPTCY COURT
                                                     SOUTHERN DISTRICT OF FLORIDA
                                                         FT. LAUDERDALE DIVISION

       n re Douglu Perera                                                                                                           Case NQ.
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                     EXHIBIT 0 .. INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH

  :                                   CREDIT COUNSELING REQUIREMENT

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\£D20IA (Form 20IA)(lJI12)


                                UNITED STATES BANKRUPTCY COURT

                          NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                   OF THE BANKRUPTCY CODE
I        In accordance with § 342(b) or the Bankruptcy Code, this notice to individuals with primarily consumer
Idebts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
~urposes, benefits and costs ofthe four types of bankruptcy proceedings you may commence; aDd (3) Informs you
~bout bankruptcy crimes and nolitic!! you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.                                        '

I       You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
!he advice of an iJ,ttomey to learn ofyour rights and responsibilities should you decide to file a petition. Court
~mployees cannot give you legal advice.
    I



I       Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you recejveinfonnation about events concerning your case, Bankruptcy Rule 4002 requires that
you notifY tbe court ofany changes in your address. If you are filing a joint ease (a Single ballkruptcy case for two
~dividuals married to each other), and each spoustllists the same mailing address on the bankruptcy petition, you
~d your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly­
~dressed envelope, unles!l; you file a statement with the court requesting that each spouse receive a separate copy of
fnotices.                              .

        \' Senices AvaUab.e from Credit Counsellog Alt:~cies    . .

 i      With limited exeeption$, § 109(h) 01 the Bankruptcy Code requires that all individual debtors who file
                                                                a
fpr bankruptcy relief 00 or after October 17, 1005, receive briefing that outlioea the avaHable opportunities
r"r credit counseling a..d provides asmtance In performing a budget analysis. The briefmg must bc given
Within 180 days ~ the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) -.od must be provided by a nonprofit budget and credit
cpunseling agency approved by the United States trustee or bankruptcy administrator. The clerk ofthe bankruptcy
cPurt has a list that you may consult of the approved budget and credit coun!l;eling agencies. Each debtor in a joint
case must complete the briefing.

 I     In addition, after filinKa bankruptcy ase,     ~n
                                                     individual debtor geoeraHy musl complete a fmancial
$nagement instnJctional course befot:'e be or she can receive a discha'le. The clerk also. has a list of approved
npancial management instructional courses. Each debtor in a joint case must compLete the course.

lJ The Four Chalnen ofthe Bankruptcy Code'AvailAble            to Indiyidual Co.nsumer Debton
        IChlllter 7: Liquidation (5145 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee S3Q6)
        ,Chapter 7 is ~signed f()r debtors in financial difficulty who do not have the ability to pay their existing
d~bts. Debtors whose debt... are pri.marily constimerdebts are subject to a "means test" designed to determine
w~ther the case should be permitted to proceed under chapter 7. If your income is greater than the median income
fOf your state ofresidence and family size, in some cases, the United States trustee (or bankruptcy administrdtor), the
trUstee, or creditors have th~ right to file a motion requesting that the court dismiss your case under § 707(b) ofthe
cqde. It is up to the C(,lurt to'decide whether the CiJ,!ie should be dismissed•.
   I Under chapter 7. you may claim certain ot' your Property as exempt under governing law. A trustee may
have the right to take possession ofEUld sell the remaining property that is not exempt and use the sale proceeds to
pat  your creditors.        . . , .              . ..        "                .. .                    .
   ,    The purpose offihng a chapter 7 case 18 to obtam a discharge of your cxlstmg debts. Jf, however, you are
fid    to havc committed certain kinds of improper condu4:t dest..ribed in the Bankruptcy Code, the court may deny



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        I           Fonn B 201A, Notice to Consumer Dehtor(s)                                                  Page 2

    ~l)Ur discharge and, if it does, the putpOSe [or which you filed the bankruptcy petition will be defeated.


·   ~u
        •  Even if you receive a geneml discharge, some particular debts are not discharged under the law. Therefore,
        may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
     pport and property settlement obligations; most fines, penalties, forfeitures, IJDd criminal restitution obligations;


i · rtain debts which arc not properly listed in your bankruptcy papers; and debts for death or personal injury caused.
      operating a motor vehicle, vessel, or aircraft while into1Cicated from alcohol or drugs. Also, if a creditor can prove
   . at a debt arose from fraud, breach of fiduciary duty, or theft, or from a witlfu I and malicious injury. the bankruptcy


·court may determine that the debt is not discharged.
        I


                  Chapter 13: Repayment of An or Part of the Debts of an Individual with Regular Income (5235 filing


i
fI e, 546 administrative fee: Total fee 5281)
          Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    eir debts in installments over a period of time. You are only eligible for chapter 13 if your debt'i do not exceed
cl,rtain dollar amounts set forth in the Bankrupl.Cy Code.



~
  •       Under chapter 13, you must file with the court Ii plan to repay your creditors all or part of the money tbat you
o e them, using your future earnings. The period allowed. by the court to repay your debts may be three years or
    ve years, depending upon your income and other factors. The court must approve your plan before it can take
     ect.
  •       AftQ!' o0ll'1p1otins the rll~ymtmtM under your DIan, yout debts are generally discharged e1Ccept for domestic

s~pport obligations; most student loans; certain taxes; mo!o1 criminal fines and. restitution obligaLi.vm., wrtllin d"bf(!
ihich are not property listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
ard   certain long term secured obligations.



·       ·        Chapter 11: ~eorganjzation ($1,167 flUng fee. 546 administrative fee: Total fee $1,213)
                 Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. its
            visions are quite complicated, and any decision by an individual to file a chapter II petition should be reviewed


f   ·
    i
        'tb an aUorney.                                                ..

       Cbapter 12: Family Fanner or Fisherman (5200 fiJirig fee, $46 administrative fee: Total fee 5246)
       Chapter 12 is designed to permit family Jilrmers and fishermen to repay their debts over a period oHime from
f~ eamingsand is sitnilar.to chapter 13. The eligibility requirements are restrictive, limiting its use to those
1hose inCome arises primarily from a family-owned farm or commercial fishing operation.

3~          Bankruptcy Cdmes and ,avaUabUilY of Banmgley rapers to Law Enforcement Officials

              A person who knowingly aDd fraudulently conceals IlSsets or makes a false oath or statement under penalty



~
            peJjury. either orally or in
                                   writing, in connection with a bankruptcy case is subject to a fmc, imprisonment, or
         tho An infonnation supplied by a debtor in connection with a bankruptcy case is lIubject to examination by the
        ttomey General ~cting through the Office oftbe.United States Trustee, the Office ofthe United States Attorney,
           other components and em.ploy!:?es of the Department of Justice.
    i

WARNlNG; Section 521 (a) (1) of the Banlauptcy Code requires that yOIl promptly file detailed information regarding your
c  iton, aS5el(!, liabilitil'S, inCome, CJtponses and Fneral fmancial condition. Your b;mkruptcy case may be dismissed if
                 is not filed with the court within the time deadlines set by the Haukruptcy Code, the Bankruptcy Rules, and
        '8 information
  local rules ofthe court. The documents and the deadlines for flUng them are listed on Fonn 8200. which is posted at
h ://www u~co :. OVl kform.              kru tc f1 sJltml# rOl,;cdurc,




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        Ii 20tR (rorm 201B) (12109)


                                           United States Bankruptcy Court
                                                      SOUTHERN District Of              FW~~R..1lI_DA<....>...-__

        In re Douglas Perera                                                                Case No. _ _ __

                                                                                            Chapter _1_3__



                                CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                    tINDER § 342(b) OF THE BANKRUPTCY CODE


i                                     Certification of INon-Alton.eyl Bankruptcy Petition PrepHI"eJ'
\          1, thc Inoll-auo11lcyj balikmptcy petition preparerl'iisning the dcbror'/.i potiliQn, hereby cel'tify that I delivered to the deblur tile
i attaebed notice, as n::quircd by § 342(b) oflhe Banknll'tcy Code.



\ Justin Jurist                                                                                                         281829154
' Printed name and title, if any. of Bankruptcy Petition Prcplln.-r                         Social Security number (If the bllllkruP(~!y petition
\:At.l!.lII:)1), PO Box 283                .                                                Ilrcflill'will   not all individulIl, ~ll1le Ibe Soei",1 SCC1lrity
                                                                                            !lumber of Ihe officer, principal. responsible pcn;on, or
    i            Winter H      r,   Me 04693                                                partner of the hankruptcy pctitit~11 prcpllrL-r,) (Required
                                                                                            by II \j.S.c. § 110,)
    I


    F--~~----------
    ~~:       • responsible person. or partner whose Social
    !Security number is provided above.

    I
                                                             Certification of the Dehtor

    ~od\:.
                I (We). th~ dcbtor1s), affirm that J (we) have received and rC'ad the attached noti '             quired by § 342(b) of the lJankruprcy


    £.~~~ Perera    ., __..
    Printed Name(s) of Debtor{s)
                                                                                  X:~~irCX-'-~4r3
                                                                                  Signatu   VcZ.
    t.'\e No. (if known) __•..                                                    X
        I
                                                                                  Signature of Joint Debtor (if any)
                Date




    Itstroctions: Attach.a copy of Form R 201 A, Notice to Consumer Debtor(s) Under § 342(11) aftllCl'13ankrupn::y Code.

Jse chis form to ccrlify thaI the debtor has received the notice required by I J U.S.C. § 342(b) only if the cCltificatioll has
NOT been ['!lade on the Voluntary Petition, Official form R I. Exhibit R on page 2 of form I:J 1 conhtins a certification by the
d,btol"S auonlcy thaI the attorney has given tIle notice to the debtor. The OeclataliuflS malic by dcblort:l and b;.mkruptcy
p~itioll preparors 011 page 3 u f F<)TlTI R1 also include this certification.

            I




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                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                           FT. LAUDERDALE DIVISION

       In re   DOU!7~as Perera                                                                 Case No.
                                                                                               Chapter 13

           --------------------------------~~/~


                                           VERIFICATION OF CREDITOR MATRIX


                      The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

          best of our knowledge.




   Date: 01/14/2013
                                                                       Oebtor




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S /J
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          #                                      l8009LVv96l
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                      Defined Be~efit Pension Plan
                      6171 N Federal HWY
                      Bor:a Raton, FJ.    33487


                      T.nternol Revenue Service
                      SPF - Dankrllptcy
                      PO Box 17167 Stop 5760
                      Attn: Bankr:oJptcy Unit
                      Ft. Lauderdal~. FL      33318




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S /~   #                    ~£009LVtS6~
